                Case 2:14-cr-00307-WKW-CSC Document 91 Filed 02/27/15 Page 1 of 5

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 1


                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                        V.                                                         (WO)

               MARCUS MANDRELL HARRIS                                             Case Number: 2:14cr307-WKW-03

                                                                                  USM Number: 15386-002

                                                                                  Tilden Jeffrey Haywood
                                                                                  Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to Count(s)         2 of the Indictment on 11/13/2014
El pleaded nolo contendere to count(s)
   which was accepted by the court.
El was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended              Count

 18472 and 2                        Uttering Counterfeit Obligations or Securities                          10/31/2013                 2




D See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)

   Count(s) 3 of the Indictment                              'is   LI are dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         2/26/15
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge

                                                                         W. Keith Watkins, United States District Judge
                                                                          Name oiJudge                               Title of Judge


                                                                            2.21/S
                                                                          Date
                    Case 2:14-cr-00307-WKW-CSC Document 91 Filed 02/27/15 Page 2 of 5

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
V1               Sheet 4—Probation

                                                                                                                            Judgment Page: 2 of 5
 DEFENDANT: MARCUS MANDRELL HARRIS
 CASE NUMBER: 2:14cr307-WKW-03
                                                                    PROBATION
 The defendant is hereby sentenced to probation for a term of:

     Four (4) Years




 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defedant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, ( applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 I         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is conditbn of probation that thedefendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant mist comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and
     13)    as directed by the probation officer, the defendant shall noti' third parties ofrisks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant7s compliance with such notification requirement.all retrain from
              Case 2:14-cr-00307-WKW-CSC Document 91 Filed 02/27/15 Page 3 of 5

AO 245B     (Rev. 09/11) Judgment in a Criminal Case
vI          Sheet 4A - Probation


 DEFENDANT: MARCUS MAN DRELL HARRIS                                                                    Judgment Page: 3 of 5
 CASE NUMBER: 2:14cr307-WKW-03

                                               ADDITIONAL PROBATION TERMS
  1) Defendant shall participate in the home confinement program, with electronic monitoring, for a period of two months, to
  begin at a time designated by the probation officer. He shall follow the procedures specified by the probation officer and
  pay the cost of electronic monitoring.

  2) Beginning on a date designated by the probation officer, Defendant shall serve four consecutive weekends at a jail
  facility to be designated by the Federal Bureau of Prisons. He shall surrender for service of this term each Friday no later
  than 6:00 p.m. and shall be released each Sunday at 6:00 p.m. Failure to report on time for service of this sentence each
  weekend will be considered a violation of his supervision and will subject defendant to further penalties, which may include
  revocation of Probation.

  3) Defendant shall participate in a program approved by the United States Probation Office for substance abuse as
  directed, which may include testing to determine whether he has reverted to the use of drugs. He shall contribute to the
  cost of any treatment based on ability to pay and the availability of third-party payments.

  4) Defendant shall participate in a mental health treatment program approved by the United States Probation Office as
  directed and contribute to the cost based on ability to pay and availability of third party payments.

  5) Defendant shall provide the probation officer any requested financial information.

  6) Defendant shall not obtain new credit without approval of the probation officer unless in compliance with the payment
  schedule.

  7) Defendant shall continue to live with his mother unless authorized by the probation officer.
                  Case 2:14-cr-00307-WKW-CSC Document 91 Filed 02/27/15 Page 4 of 5

AO 245B        (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet 5—Criminal Monetary Penalties

                                                                                                                      Judgment Page: o
                                                                                                                                     4 5
     DEFENDANT: MARCUS MANDRELL HARRIS
     CASE NUMBER: 2:14cr307-WKW-03
                                                  CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                       Fine                                Restitution
 TOTALS              $ 100.00                                       $                                     $ 1,740.00


 D The determination of restitution is deferred until                      An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 1J.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                     Total Loss*               Restitution Ordered Priorit y or Percentage

     Murphy Oil                                                                                           $1,740.00
     2819 Cobbs Ford Road
     Prattville, AL 36066




 TOTALS                                                                             $0.00                 $1,740.00


 U Restitution amount ordered pursuant to plea agreement $

 LJ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LJ     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        U the interest requirement is waived for the          U fine E restitution.

        U the interest requirement for the           E fine    U restitution is modified as follows:



 * Findings for the total amount of losses are required under Charters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                   Case 2:14-cr-00307-WKW-CSC Document 91 Filed 02/27/15 Page 5 of 5

AU 245B          (Rev. 09/11) Judgment in a Criminal Case
V1            Sheet 6— Schedule of Payments
                                                                                                                                           Judgment Page: 5 of 5
 DEFENDANT: MARCUS MANDRELL HARRIS
 CASE NUMBER: 2:14cr307-WKW-03


                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of $ 1,840.00                                    due immediately, balance due

            F1       not later than                          , or
                 " in accordance                  C, fl D, fl E, or LF below; or

 B fl Payment to begin immediately (may be combined with                              fl C,         fl D, or LII F below); or
 C    fl Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                              (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post Office Box 711, Montgomery,
            Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at the rate of not less than $50 per month to begin 4/1/15. To the
            extent that other defendants are ordered in this case or in any other case to be responsible for some or all of the restitution amount owed to the victim, the
            victim is entitled to only one recovery, from whomever received. In other words, the victim is not allowed to receive compensation in excess of its loss.
            Related cases: defendants: 2:14cr307-WKW-01 James Ray Causey; 2:14cr307-WKW-02 Ginger Renea Smith; 2:14cr307-WKW-04 Jessica Lynn Marshall.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LII The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 E The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
